                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI

 LOCKTON COMPANIES, LLC –                         )
 PACIFIC SERIES, LOCKTON                          )
 INVESTMENT ADVISORS, LLC,                        )
 LOCKTON INVESTMENT SECURITIES,                   )
 LLC f/k/a LOCKTON FINANCIAL                      )
 ADVISORS, LLC, and LOCKTON                       ) Case No. 4:22-cv-00791
 PARTNERS, LLC,                                   )
                                                  )
                         Plaintiffs,              ) JURY TRIAL REQUESTED
                                                  )
         vs.                                      )
                                                  )
 SALLIE F. GIBLIN,                                )
                                                  )
                         Defendant.


                                         COMPLAINT

        1.       Lockton files this lawsuit to stop Sallie Giblin, one of its owners and office

Presidents, from flagrantly breaching her contractual and fiduciary obligations by diverting

corporate clients and confidential and proprietary information to Alliant Insurance Services, Inc.,

a competing insurance brokerage and consulting service. Until Tuesday morning of this week,

Giblin was the President of Lockton’s San Diego and Irvine offices and an owner in several

Lockton entities. But later that morning, Giblin abruptly resigned, refused to honor her required

thirty-day notice period, and began working for Alliant. Even more audaciously, in a manipulative

effort to enable Giblin to violate her obligations to Lockton, on her way out the door, Giblin

attempted to exploit baseless claims of unfair treatment and discrimination against Lockton, as

leverage to obtain a release from her commitment not to solicit Lockton customers and other

restrictions.

        2.       While Giblin has attempted to blame her exit from Lockton, and related breaches




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of contractual and fiduciary obligations to Lockton, on purported mistreatment by Lockton, in fact,

her own misconduct precipitated her departure from Lockton. After joining Lockton, with

Lockton’s help and through its vast resources, Giblin quickly demonstrated her abilities as a

Lockton owner and Producer Member and became very successful in a short period of time.

Recognizing Giblin’s potential as a leader in the organization, Lockton promoted Giblin to the

position of President of its San Diego and Irvine Offices, overseeing the overall operation and

development of business in those locations. Giblin recognized at the time that leadership in the

insurance industry “isn’t ‘male dominated,’ but rather ‘predominately male,’” and that she was the

only one who could craft her journey and path for success. However, over time Lockton grew

concerned that Giblin was creating a toxic work environment for those under her leadership.

Lockton conducted multiple investigations into her conduct based on a myriad of complaints,

provided warnings and coaching regarding her behavior and treatment of Lockton’s Producer

Members, Associates, and employees, and retrained her on various leadership aspects to insure she

was leading in accordance with Lockton’s core values, which exemplify an inclusive and

respectful work environment.

       3.       Despite Lockton’s investment into her success, Giblin began shopping for a new

location to transition Lockton’s business, directly misleading Lockton as to her intentions. When

Lockton heard in the marketplace that she was looking to leave, Lockton approached Giblin and

again offered its support. Lockton asked Giblin to be transparent regarding her intentions so that

Lockton could help facilitate an orderly transition, should that become necessary. Giblin denied

her intentions of leaving Lockton to join a competitor. Then, on November 29, 2022, she abruptly

reversed course and announced that she intended to terminate her owner interests in Lockton

immediately and join a competitor, despite knowing full well that her agreements with Lockton




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required advance notice. Giblin must be held accountable to her obligations to Lockton and her

unlawful conduct must cease.

                                  NATURE OF THE ACTION

       4.       Plaintiffs Lockton Companies, LLC – Pacific Series (the “Series”), Lockton

Investment Advisors, LLC (“LIA”), Lockton Investment Securities, LLC f/k/a Lockton Financial

Advisors, LLC (“LIS”), and Lockton Partners, LLC (“Lockton Partners”) (the Series, LIA, LIS,

and Lockton Partners collectively referred to herein as “Plaintiffs” or “Lockton”) bring this action

to enforce Producer Member and Producer Partner Giblin’s long-standing and enforceable

agreements with Lockton, enforce her fiduciary duties to Lockton, and protect Plaintiffs’

confidential information, trade secrets, and business relationships. In particular, Plaintiffs seek to

enforce Giblin’s contractual 30-day notice of termination requirement, non-disclosure obligations,

non-solicitation obligations, and duty of loyalty, and to enjoin Giblin’s ongoing violations of same.

       5.       Giblin joined Lockton in 2006 following a decade in the employee benefits

insurance brokerage industry. Giblin has been an owner and Producer Member of Lockton for

over 16 years and a Producer Partner of Lockton Partners for over five years. During those 16

years, she developed a significant book of business using Lockton’s Confidential Information,

goodwill, and business development resources.

       6.       Giblin is not and never was an employee of Lockton. She is an owner, Producer

Member and Producer Partner of Lockton, and has reaped the benefits of said ownership for over

16 years. Any claim by Giblin to the contrary is merely a desperate attempt to avoid responsibility.

       7.       Giblin’s position as owner, Producer Member, and Producer Partner of Lockton

entitles her to broad access to Lockton’s most sensitive competitive information and to Lockton’s

customer accounts and personnel. With this access comes unconditional fiduciary duties of loyalty




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and care that she owes Lockton.

       8.       Giblin is also subject to contractual restrictive covenants as a Producer Member

and Producer Partner. In exchange for valuable equity interests in Lockton, Giblin became subject

to Member Agreements containing provisions prohibiting the solicitation of Lockton colleagues

and clients during her membership and for a two-year period following the termination of her

membership. When Giblin became a Producer Partner in 2017, in exchange for her partnership

interest in Lockton Partners, her non-solicitation provisions were extended to a four-year period

following the termination of her partnership. Giblin also agreed that she would not disclose

Lockton’s Confidential Information (defined below), an obligation with no expiration date. Giblin

further agreed that she would only terminate her membership in Lockton upon thirty (30) days’

written notice to Lockton.

       9.       On November 29, 2022, Giblin notified Lockton that she was terminating her

membership, “[e]ffective immediately.”       Giblin failed to provide 30 days’ notice of her

termination, as required by her agreements with Lockton. Giblin also failed to disclose to Lockton

that she had accepted an offer to join Lockton’s direct competitor, Alliant Insurance Services, Inc.

(“Alliant”).

       10.      After receiving Giblin’s termination notice, Lockton promptly communicated to

Giblin that it was invoking the 30-days’ notice requirement and continuing contractual obligations

and fiduciary duties and requested that Giblin confirm her intention to comply with the same.

Giblin, however, has reiterated through her counsel that Giblin deems her termination effective

immediately and believes the non-solicitation and notice provisions to which she is subject are not

enforceable. Lockton has also communicated with Alliant, informing Alliant of Giblin’s notice

period and other restrictions.




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       11.     Giblin has blatantly violated her contractual and fiduciary duties to Lockton by

attempting to effectuate the early termination of her membership and partnership in Lockton and

starting work for Alliant while still a Lockton Producer Member and Producer Partner. In addition,

on information and belief, Giblin has misappropriated Lockton’s Confidential Information for use

at Alliant with the intent to solicit, or attempt to solicit, Lockton colleagues and customers. Indeed,

the very same day that Giblin was accessing her Lockton email account through which she

transmitted notice of her resignation, she was simultaneously employed by Lockton’s competitor,

Alliant, and thus wearing two hats. Moreover, she failed to ensure all Lockton property and data

were out of her possession prior to joining Alliant. Her dual access to competing information and

technology systems, confidential information, and property of Lockton and Alliant, during a period

of competing loyalties to both companies, was improper and indicative of misappropriation.

Lockton’s investigation is ongoing and is likely to uncover additional misconduct.

       12.     Immediately following her resignation, in a clearly tactical effort to gain leverage

to compete against Lockton immediately in blatant violation of her agreements, Giblin began

fabricating, through counsel, claims against Lockton regarding alleged mistreatment. These

accusations are utterly false.     Moreover, despite Giblin’s efforts to deflect from her own

misconduct, her accusations against Lockton in no way excuse her failure to comply with her

continuing contractual and fiduciary obligations to Lockton.

       13.     Lockton seeks preliminary and permanent injunctive relief prohibiting Giblin from:

(i) terminating her membership in Lockton before the expiration of the 30 days’ notice period and

working for Alliant, or another competitor, during that period; (ii) wrongfully soliciting, recruiting,

or hiring Producer Members and associates/employees of Lockton, or from wrongfully aiding

and/or abetting these activities, until December 29, 2026; (iii) soliciting, accepting, or servicing




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Lockton’s restricted customer accounts, or from wrongfully aiding and/or abetting these activities,

until December 29, 2026; (iv) wrongfully disclosing, using, or taking Lockton’s Confidential

Information and trade secrets, including, but not limited to, information about Lockton’s customer

accounts, or from wrongfully aiding and/or abetting these activities; and (iv) interfering with

Lockton’s contracts and business expectancies, as further alleged herein. Lockton also seeks a

declaration of the parties’ rights and obligations under their agreements, and seeks to recover

damages for those quantifiable injuries that Lockton has suffered to date. Lockton also reserves

the right to seek expedited discovery in aid of the relief requested.

                                         THE PARTIES

       14.     The Series is a series of Lockton Companies, LLC, (the “Company”) a Missouri

series limited liability company organized under the Missouri Limited Liability Company Act,

Mo. Rev. Stat. §§ 347.010, et seq., specifically Mo. Rev. Stat. § 347.186. The Series operates

brokerage offices and transacts business in California (Irvine, Los Angeles, Sacramento, San

Diego, San Francisco, San Jose and Sonoma), Washington, and Oregon, among other locations.

       15.     LIA is a Missouri Limited Liability Company organized and operating under the

laws of the State of Missouri. LIA operates an investment advisory service for its clients across

the United States.

       16.     LIS is a Missouri Limited Liability Company organized and operating under the

laws of the State of Missouri. LIS operates Lockton’s broker-dealer business.

       17.     Lockton Partners is a Missouri Limited Liability Company organized and operating

under the laws of the State of Missouri. Lockton Partners ultimately holds the operating interests

in all Lockton entities that carry on insurance intermediary business on a global basis.

       18.     Giblin, a citizen and resident of California, is a commercial insurance brokerage




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professional, an owner and Producer Member of the Series, LIA, and LIS, and an owner and

Producer Partner of Lockton Partners. She has been an owner and Producer Member of Lockton

since 2006. She has been an owner and Producer Partner of Lockton Partners since 2017. She

specializes in employee benefits.

                                     JURISDICTION AND VENUE

        19.      This action arises under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836,

et seq., as well as under Missouri law. The Court has subject-matter jurisdiction over Lockton’s

federal cause of action (Count IV) pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 1836(c). The

Court has supplemental jurisdiction over the remaining causes of action (Counts I-III, V) pursuant

to 28 U.S.C. § 1367.

        20.      By signing and accepting the terms of her Member Agreements and Partner

Agreement, not to mention accepting the benefits attendant thereto, Giblin expressly agreed with

Lockton that jurisdiction is proper in this Court and she is therefore subject to the Court’s

jurisdiction.1 See Exhibit A, § 7.7(a); Exhibit B, § 7.7(a); Exhibit C, § 7.7(a); Exhibit D, § 5.9(a).

There is a reasonable basis for the parties’ choice of forum given the negotiation of the Member

Agreements in Missouri, Lockton’s substantial contacts with Missouri and the motivation to

resolve disputes regarding the parties’ rights and interests in the agreements on a uniform basis in

accordance with Missouri’s series limited liability company law. See Exhibit A, § 7.7(b); Exhibit



1
  A true and accurate copy of Giblin’s Member Agreement for the Pacific Series of Lockton Companies, LLC and
each of its amendments (the “Series Member Agreement”) is attached hereto as Exhibit A and incorporated herein by
reference. A true and accurate copy of Giblin’s Member Agreement for Lockton Investment Advisors, LLC and each
of its amendments (the “LIA Member Agreement”) is attached hereto as Exhibit B and incorporated herein by
reference. A true and accurate copy of Giblin’s Member Agreement for Lockton Investment Securities, LLC f/k/a
Lockton Financial Advisors, LLC and each of its amendments (the “LIS Member Agreement”) is attached hereto as
Exhibit C and incorporated herein by reference. The Series Member Agreement, LIA Member Agreement, and LIS
Member Agreement are collectively referred to herein as the “Member Agreements.” A true and accurate copy of
Giblin’s Partner Agreement for Lockton Partners, LLC (the “Partner Agreement”) is attached hereto as Exhibit D and
incorporated herein by reference.


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B, § 7.7(b); Exhibit C, § 7.7(b); Exhibit D, § 5.9(b). Additionally, the Series, LIA, and LIS, and

thus Giblin as a Producer Member of each, receives administrative, regulatory/compliance, and

customer-related support and information from Missouri, and utilizes computer servers located in

Missouri.

       21.      This Court recently upheld the forum selection provision contained in the Member

Agreement of another former Producer Member of the Series, also hired by Alliant, and found that

a valid forum selection clause waives objections to personal jurisdiction. See Lockton Companies,

LLC – Pacific Series, et al. v. Kaufman, Case No. 22-00462-CV-W-SRB, ECF No. 33.

       22.      Venue is proper in this Court because Giblin expressly agreed in writing that any

action relating to her respective written agreements with Lockton must be brought exclusively in

either state court in Jackson County, Missouri or in any Federal Court in Kansas City, Missouri.

See Exhibit A, § 7.7(a); Exhibit B, § 7.7(b); Exhibit C, § 7.7(b); Exhibit D, §5.9(a). Venue is also

proper as to Lockton’s claims against Giblin because Lockton’s contract-based claims against

Giblin arise out of the same nucleus of operative facts as Lockton’s other claims against Giblin.

Therefore, judicial economy, fairness, and convenience require the claims be heard in one

proceeding before this Court.

                                  FACTUAL ALLEGATIONS

I.     THE SERIES

       23.      The Series, along with the other series of the Company and their affiliates, makes

up one of the world’s preeminent insurance brokerage firms, offering insurance, risk management,

employee benefits, and retirement services, across a number of economic sectors, including real

estate and construction, technology, telecommunications, healthcare, and financial services. The

Series and its affiliates operate globally, through a number of affiliates.




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       24.     On May 1, 2016, the Company reorganized with the approval of the Series Producer

Members, including Giblin. Each Producer Member of the Series entered into an individual

member agreement with the Series and thereby agreed, along with all Producer Members of the

other series, to be bound by the “Second Amended and Restated Operating Agreement of Lockton

Companies, LLC and Each of its Series,” dated May 1, 2016, which applies to the Company, all

of its series, and all Producer Members.

       25.     On January 1, 2018, the Company amended and restated its operating agreement to

clarify minor ambiguities by executing the Third Amended and Restated Operating Agreement of

Lockton Companies, LLC and Each of its Series (the “Series Operating Agreement”). Due to the

nature of the amendment, approval of each Series Producer Member was not required. Each

Producer Member of the Series, along with all Producer Members of the other series, are bound

by the Series Operating Agreement, which applies to the Company, all of its series, and all

Producer Members.

       26.     The Producer Members of the Series each hold an ownership interest in the Series.

Specifically, each Producer Member of each series makes a Capital Contribution (as defined in the

Member Agreement) to and thereby purchases and owns one (1) Producer Unit of the respective

series with which he or she is affiliated, which confers and represents the Producer Member’s

equity ownership interest and his or her respective series with which he or she is affiliated, and

entitles the Producer Member to receive, among other benefits of ownership, producer profit return

(profit distribution) from his or her series and a Buy-Sell Price upon termination of his or her

membership.

       27.     In addition to its organization as a Missouri series limited liability company, the

Series has numerous connections to Missouri in its day-to-day operations. The Series has many




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associates/employees and Producer Members who are licensed as insurance brokers in the State of

Missouri. The Series and its Producer Members also pay entity and individual taxes and licensing

fees to the State of Missouri.

II.    LIA

       28.     LIA operates an investment advisory service for its clients across the United States.

In December 2021, LIA transferred certain of its assets to a third party pursuant to an asset

purchase agreement. As part of that asset transfer, LIA Producer Members that opted to remain

Producer Members of LIA were eligible to participate in the asset transfer and share in the

proceeds, subject to enhancements to their then-current non-solicitation obligations to LIA.

       29.     As part of the asset transfer, each remaining LIA Producer Member (including

Giblin) voted to approve the Fourth Amended and Restated Operating Agreement of Lockton

Investment Advisors, LLC (the “LIA Operating Agreement” together with the Series Operating

Agreement hereinafter referred to as the “Operating Agreements”) and assented to the enhanced

non-solicitation obligations documented in a written Solicitation agreement.

III.   LIS

       30.     LIS operates Lockton’s broker-dealer business.

IV.    LOCKTON PARTNERS

       31.     Lockton Partners was formed under the Missouri Limited Liability Act, Mo. Rev.

Stat. §§ 347.010, et seq., and maintains its headquarters in Kansas City, Missouri.

       32.     Lockton Partners ultimately holds the operating interests in all Lockton entities that

carry on insurance intermediary business on a global basis, including the Series.

       33.     A Producer Member becomes a Producer Partner solely by invitation from Lockton

Partners for a demonstrated history of exceptional production results and performance as a




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Producer Member that Lockton Partners determines is likely to continue.

       34.     Giblin became a Producer Partner in 2017, entering into the Partner Agreement and

agreeing in writing to be bound by the Lockton Partners Operating Agreement.

       35.     Producer Partners, like Giblin, make an initial Capital Contribution (as defined in

the Partner Agreement) and thereby acquire a Partner Unit consisting of an equity ownership

interest in Lockton Partners.

       36.     Producer Partners are entitled to a share of the value of Lockton Partners,

denominated in the form of “Class B Shares” that annually are attributed to a Producer Partner’s

Partner Unit and measure the Producer Partner’s share in the value of Lockton Partners as

determined by a formula based on global consolidated EBITDA from Lockton’s global operations.

       37.     Producer Partners are also entitled to the opportunity for the value of the Partner

Unit to increase significantly over time and thus realize a substantial capital gain from the future

sale of the Partner Unit, the “Buy-Sell Price” (as defined in the Lockton Partners Operating

Agreement).

       38.     Producer Partners are entitled to the opportunity to derive significant tax benefits

from their ownership and sale of their Partner Unit in Lockton Partners.

V.     PRODUCER MEMBER GIBLIN

       39.     Giblin is a commercial insurance brokerage professional and an owner, Producer

Member, and Producer Partner of Lockton. See Exhibit A; Exhibit B; Exhibit C; Exhibit D.

       40.     In addition to her status as a Producer Member and Producer Partner of Lockton,

Giblin serves as the President of Lockton’s San Diego and Irvine offices. She also served on the

Pacific Series Executive Committee, which determines strategic direction for the Series and makes

decisions concerning the budget and many aspects of the Series’ operations. In her capacity as a




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Member of the Pacific Series Executive Committee, she was privy to critical Confidential

Information of Lockton and its many Series.

         41.      At all times during Giblin’s association with Lockton, she has been and remains a

sophisticated businesswoman with extensive experience in the business world, including, among

other things, more than 26 years of experience and specialized training in the commercial insurance

brokerage industry.

         42.      By virtue of her longstanding relationship with Lockton, Giblin has developed a

significant book of business. She is responsible for strengthening and developing new Customer

Accounts2 as well as servicing existing Customer Accounts. She is also entrusted to maintain

significant and long-term relationships with customers’ key decision-makers who possess the

authority to choose, and switch, brokerage firms. Giblin has also developed close relationships

with various other Producer Members and Producer Partners, as well as with Lockton’s employees.

         43.      Over the last sixteen years, Lockton has invested significantly in client service

teams and the resources used by Giblin to service Customer Accounts.
                                                                                              3
         44.      Giblin has access to important Confidential Information                         about Lockton’s




2
    As defined by the Series Member Agreement, “Customer Accounts” means “the accounts of all customers of one
or more of the Series, the Other Series, or any Affiliate” as well as “prospective customers of either one or more of
the Series, the Other Series or any Affiliate,” subject to certain conditions. See Exhibit A, § 4.1(c)(1)-(2). The LIA
Member Agreement, LIS Member Agreement and Producer Partner Agreement each contain a nearly identical
definition. See Exhibit B, § 4.1(c)(1)-(2); Exhibit C, § 4.1(c)(1)-(2); Exhibit D, § 4.1(c)(1)-(2).
3
    As defined by the Series Member Agreements, “Confidential Information” “includes, without limitation, trade
secrets, non-public proprietary information, formulas, patterns, compilations, programs, devices, methods, techniques,
or processes; sales and other business methods or policies; prices or price formulas; procedures; the identity of and
information concerning former or current Customer Accounts of the Series, the Other Series and/or any Affiliate,
including but not limited to Customer Account needs and preferences, levels of satisfaction and the terms of
engagement and transactions between the Series, the Other Series or Affiliates and/or its or their Customer Accounts;
revenues, expenses, budgeting, finances and other financial information; computer systems, programs and software .
. .; business, marketing and development strategies and plans; Series; Other Series and Affiliate member and/or
Lockton Entity personnel information, including without limitation, compensation and benefit information; internal
operational information related to the structure of any of the Lockton Entities, including without limitation, the
Operating Agreement . . . .” See Exhibit A, § 4.1(b); accord Exhibit B, § 4.1(b); Exhibit C, § 4.1(b); Exhibit D, §
4.1(b).


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customers, including, without limitation, the customers’ insurance needs and preferences, risk

appetite, pricing and coverage requirements, present premiums, deductibles, collateral levels,

commission arrangements, renewal dates, loss history, levels of satisfaction, and other information

that would be greatly beneficial to competitors in soliciting such customers. This information has

independent economic value, is not generally available to competitors, and is protected by

Plaintiffs as a trade secret.

           45.      Giblin’s access to Lockton’s trade secrets and other Confidential Information well

positions her to subvert Lockton’s interests, engage in unfair competition, and convince customers

to move their business away from Lockton and colleagues to leave Lockton.

     VI.         GIBLIN’S AGREEMENTS WITH PLAINTIFFS

                 A. The Series Member Agreement

           46.      Giblin is a party to the Series Member Agreement.

           47.      Section 4.3 of the Series Member Agreement explicitly prohibits Giblin from

disclosing or misusing the Series’ Confidential Information. In pertinent part, that Section states:

           While Member is a Producer Member of the Series and at all times thereafter, and
           except with the prior written consent of the applicable Lockton Entity or as is
           reasonably necessary for Member to perform Member’s responsibilities as a
           Producer Member of the Series, Member shall not, directly or indirectly, (a)
           disclose, or attempt to disclose, Confidential Information to anyone other than
           the members, officers, or authorized employees, attorneys or other agents and
           fiduciaries of the applicable Lockton Entity, (b) use, or attempt to use,
           Confidential Information for any unauthorized purpose, or (c) acquire, access,
           duplicate, copy, remove, download, upload, save, email, transmit or otherwise
           take, or attempt to do any of the foregoing with respect to, Confidential
           Information for any unauthorized purpose.4

           48.      Section 5.3 of the Series Member Agreement prohibits Giblin from soliciting

“Producer Members, [e]mployees, and [o]thers” during her membership with the Series and for a



4
    Exhibit A, § 4.3 (emphasis added).


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period of two years after. In pertinent part, that Section states:

          Member shall not, directly or indirectly, for himself or on behalf of any other Person,
          solicit, recruit, hire, induce, persuade or encourage, or attempt to solicit, recruit, hire,
          induce, persuade or encourage, any employee, member, or consultant of Series or any
          Other Series, or Affiliate (if, with respect to a consultant, substantially all of the services
          performed by such consultant are on behalf of the Series or the Other Series or Affiliate)
          to terminate his/its employment, membership, or consultant relationship with, or to render
          services for any competitor of Series, or any Other Series or Affiliate, as applicable, and
          shall not otherwise take any action to interfere with, or attempt to interfere with, any
          employee’s, member’s or consultant’s relationship with Series, or any Other Series or
          Affiliate, as applicable.5

          49.      Section 5.4 of the Series Member Agreement explicitly prohibits Giblin from

soliciting certain Series’ customers during her membership with the Series and for a period of two

years after. In pertinent part, the Member Agreement states:

          Member shall not, directly or indirectly, for himself or on behalf of any other
          Person, solicit, induce, persuade or encourage, or attempt to solicit, induce,
          persuade or encourage any of the Customer Accounts described below, if any
          such Customer Account qualified as a Customer Account within the six (6)
          month period immediately preceding the sale of Member’s Producer Unit, to
          reduce, terminate, or transfer to a competitor any products or services that are
          the same or substantially similar to, or directly competitive with, the products or
          services provided by the Series, the Other Series, or any Affiliate. Member shall
          not, directly or indirectly, for himself or on behalf of any other Person, (i) accept,
          service, or work on, or attempt or threaten to accept, service or work on, any such
          competitive business from any of the Customer Accounts that Member may not
          solicit, or (ii) in any way do business with any of the Customer Accounts that
          Member may not solicit to the extent such business is the same or substantially
          similar to that provided by the Series, the Other Series or any Affiliate. The
          Customer Accounts to which this restriction applies are:

                   (1)      any of the Customer Accounts of the Series (A) produced by
                            Member, (B) solicited by Member (in the case of prospective
                            Customer Accounts), (C) serviced by Member, (D) for or about
                            which Member acquired or had access to Confidential Information,
                            or (E) with which Member has or had business contact; and, . . .

                   (3)      any of the Customer Accounts of the Other Series (A) produced by
                            Member, (B) solicited by Member (in the case of prospective
                            Customer Accounts), (C) serviced by Member, (D) for or about
                            which Member acquired or had access to Confidential Information,

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    Id. § 5.3 (emphasis added).


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                           or (E) with which Member has or had business contact; and, . . .

                   (5)     any of the Customer Accounts of any Affiliate (A) produced by
                           Member, (B) solicited by Member (in the case of prospective
                           Customer Accounts), (C) serviced by Member, (D) for or about
                           which Member acquired or had access to Confidential Information,
                           or (E) with which Member has or had business contact.6

          50.      Giblin also agreed that the above provisions of the Series Member Agreement are

no greater than necessary to achieve their aim and are reasonably necessary for the protection of

the Confidential Information, goodwill, and other legitimate protectable business interests of the

Series, and, as applicable, the Other Series, the Affiliates, and Lockton Entities, whose legitimate

protectable business interests include, without limitation, customer contacts and goodwill;

relationships with Customer Accounts, employees, Producer Members, and consultants;

maintaining the confidentiality of Confidential Information; ownership and workforce stability;

and other interests described in Section 5.1 of the Series Member Agreement.7

          51.      Giblin further agreed that her breach of the above-discussed provisions of the Series

Member Agreement “will result in irreparable harm and continuing damage to the Series and,

where applicable, any one or more Other Series, Affiliate, or other Lockton Entity” and entitles

the Series to injunctive relief.8

          52.      Giblin agreed that Missouri law would govern the Series Member Agreement and

that any related disputes would be resolved in Missouri courts. Specifically, the Series Member

Agreement provides that: “This Agreement and all disputes, claims or issues that in any way

pertain to the interpretation, validity or enforceability of, or otherwise arise out of or relate to this

Agreement, the Operating Agreement and/or Member’s membership in the Series … shall be


6
    Exhibit A, § 5.4(a) (emphasis added).
7
    Id. § 5.5.
8
    Id. § 7.1.




                                       15
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subject to, governed by, and construed in accordance with the laws of the State of Missouri without

reference to choice of laws, irrespective of the fact that one or both of the parties now is or may

become a resident of a different state.” 9 It further provides that: “Any action involving any

disputes, claims or issues that in any way pertain to the interpretation, validity or enforceability of,

or otherwise arise out of or relate to this Agreement, the Operating Agreement and/or Member’s

membership in the Series, including, without limitation, any disputes, claims or issues arising out

of or relating to the rights and interests of the Other Series, Affiliates and Lockton Entities as set

forth herein, shall be brought exclusively in any Federal Court in Kansas City, Missouri or in the

Circuit Court of Jackson County, Missouri,” and that “[s]uch courts shall have exclusive

jurisdiction over these matters, and Member hereby agrees to be subject to the personal jurisdiction

of such courts.”10

           B.       The LIA Member Agreement and the Solicitation

           53.      Giblin is also a party to the LIA Member Agreement, which contains nearly

identical restrictions to the Series Member Agreement regarding the disclosure or misuse of LIA’s

Confidential Information,11 and with respect to the non-solicit, non-servicing, and non-disclosure

restrictions.12

           54.      However, as part of the LIA asset transfer in December 2021, Giblin received a

Continuing Producer Share payment of $619,843 in return for conveying her portion of the LIA

Customer Accounts to the third party purchaser.

           55.      In return for the payment, and as part of the transaction, Giblin executed a

Solicitation agreement with LIA modifying the scope and time period of the non-solicitation


9
     Id. § 7.7(a).
10
      Id.
11
      Exhibit B, § 4.3.
12
      Id. § 5.3, 5.4.


                                         16
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obligations applicable to the Customer Accounts transferred to the third party. Specifically, the

Solicitation provided that Section 5.4(b) of the LIA Member Agreement is amended and restated

to prohibit Giblin from soliciting certain Customer Accounts transferred to the third party for a

period of two (2) years following the closing date of the asset transfer, with that two year period

ending December 21, 2023.13

          56.      Giblin also agreed that the above-cited provisions of the LIA Member Agreement,

as modified by the Solicitation, are no greater than necessary to achieve their aim and are

reasonably necessary for the protection of the Confidential Information, goodwill, and other

legitimate protectable business interests of LIA, and, as applicable, the Affiliates, and Lockton

Entities, whose legitimate protectable business interests include, without limitation, customer

contacts and goodwill; relationships with Customer Accounts, employees, Producer Members, and

consultants; maintaining the confidentiality of Confidential Information; ownership and workforce

stability; and other interests described in Section 5.1 of the LIA Member Agreement.14

          57.      Giblin further agreed that her breach of the above-discussed provisions of the LIA

Member Agreement, as modified by the Solicitation, “will result in irreparable harm and

continuing damage to [LIA] and, if applicable, the Affiliate, and/or other Lockton Entity” and

entitles LIA to injunctive relief.15

          58.      Giblin agreed that Missouri law would govern the LIA Member Agreement and

that any related disputes would be resolved in Missouri courts. The LIA Member Agreement

contains a governing law and forum selection clause nearly identical to the one set forth in the

Series Member Agreement, quoted supra.16


13
     Exhibit B at 26.
14
     Exhibit B § 5.1.
15
     Id. § 7.1.
16
     Id. § 7.7(a).


                                        17
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          C.       The LIS Member Agreement

          59.      Giblin is also a party to the LIS Member Agreement, which contains nearly

identical restrictions to the Series Member Agreement regarding the disclosure or misuse of LIS’s

Confidential Information,17 and with respect to the non-solicit, non-servicing, and non-disclosure

restrictions.18

          60.      Giblin also agreed that the above-cited provisions of the LIS Member Agreement

are no greater than necessary to achieve their aim and are reasonably necessary for the protection

of the Confidential Information, goodwill, and other legitimate protectable business interests of

LIS, and, as applicable, the Affiliates, and Lockton Entities, whose legitimate protectable business

interests include, without limitation, customer contacts and goodwill; relationships with Customer

Accounts, employees, Producer Members, and consultants; maintaining the confidentiality of

Confidential Information; ownership and workforce stability; and other interests described in

Section 5.1 of the LIS Member Agreement.19

          61.      Giblin agreed that Missouri law would govern the LIS Member Agreement and that

any related disputes would be resolved in Missouri courts. The LIS Member Agreement contains

a governing law and forum selection clause nearly identical to the ones set forth in the Series

Member Agreement, quoted supra, and the LIA Member Agreement.20

          D.       The Lockton Partners Partner Agreement

          62.      Giblin is also party to the Lockton Partners Partner Agreement. The Partner

Agreement contains restrictive covenant provisions, incorporated by reference from the Member

Agreement, which prohibit Giblin from, among other things, directly or indirectly soliciting or


17
     Exhibit C, § 4.3.
18
     Id. § 5.3, 5.4.
19
     Id. § 5.1.
20
     Id. § 7.7(a).


                                        18
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attempting to solicit the associates/employees, members and consultants of the Series, Other

Series, and Affiliates (as defined in the Member Agreement) to terminate their affiliation with the

Series, Other Series and any Affiliate while Giblin is a Producer Partner and for four (4) years after

the sale of her Series Producer Units.21

         63.       Similarly, Giblin’s Partner Agreement also contains restrictive covenant

provisions, incorporated by reference from the Member Agreement, which prohibit her from,

among other things, directly or indirectly soliciting or attempting to solicit Customer Accounts of

the Series, Other Series and Affiliates (as defined in the Member Agreement) for or on behalf of

any competitor, such as Alliant, while she is a Producer Partner and for four (4) years after the sale

of her Series Producer Unit.22

         64.       Further, Giblin is prohibited by the Partner Agreement from directly or indirectly,

on behalf of herself or others, accepting, servicing or doing business with any of the Customer

Accounts they are prohibited from soliciting.23

         65.       Also, the Partner Agreement contains non-disclosure provisions, incorporated by

reference from the Member Agreement, which prohibit Giblin, while she is a Producer Partner and

thereafter, from, among other things, disclosing, using or taking for any unauthorized purpose any

Confidential Information of the Series and other Lockton Entities (as defined in the Member

Agreement), including, but not limited to, information related to Customer Accounts and trade

secrets.24

         66.       All Producer Partners agree to these restrictive covenants to prevent a departing

Producer Partner from unfairly soliciting Customer Accounts of each respective Series, the Other


21
   (Exhibit D, § 5.1.)
22
   Id.
23
   Id.
24
   Id.


                                       19
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Series and any Affiliate for the benefit of the joint enterprise of the Producer Partners. The Partner

Agreement restrictive covenants both bind and benefit all Producer Partners by protecting the

goodwill of their joint enterprise through membership in Lockton Partners and their resulting

common equity interests in the appreciation in the value of Lockton’s global operations. A

departing Producer Partner who successfully solicits Customer Accounts in violation of the Partner

Agreement directly harms all remaining Producer Partners by negatively impacting the value of a

Producer Partner’s Partner Unit and injuring the competitive position of Lockton Partners as a

whole.

            67.      For the reasons set forth herein above, these restrictive covenants are essential to

the protection of Confidential Information (as defined in the Member Agreements), specifically

information related to Customer Accounts and trade secrets, goodwill, and other protectable

business interests. It would cause great and irreparable harm to Plaintiffs to allow Giblin to act or

attempt to act in violation of those restrictive covenants.

            68.      Although certain provisions of the Partner Agreement state that they apply during

the time Giblin was a Producer Member and for four years after termination of her membership in

the Series, here, that four-year period will be tolled during the period of time from her first

attempted, threatened or actual breach, until the date the dispute is finally resolved and all periods

of appeal have expired.25

            69.      Giblin agreed any breach of the covenants incorporated in the Partner Agreement

would result in irreparable harm to the Series, Other Series, Affiliates and other Lockton Entities,

and entitles Plaintiffs to the injunctive relief they seek herein.26

            70.      Giblin further acknowledged the covenants in the Partner Agreement are no greater


25
     Id. at § 5.5.
26
     Id. at § 5.3.


                                          20
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than reasonably necessary for the protection of the Confidential Information, goodwill and

protectable business interests of the Series, Other Series and Affiliates, and the Confidential

Information of the other Lockton Entities, and are reasonable in their scope.27

         71.        To the extent the restrictive covenants incorporated in the Partner Agreement are

determined to be unreasonable, Giblin agreed to request that the Court modify and enforce the

restrictive covenants to the fullest extent available under the applicable law.28

         72.        Giblin has expressly recognized that the Partner Agreement, and the covenants

incorporated therein, are supported by adequate consideration.29

         73.        Giblin also agreed that to the extent Plaintiffs prevail in a dispute like this related

to the Partner Agreement, Plaintiffs are entitled to an award of attorneys’ fees in addition to any

other remedies available to them.30

         E.         The Operating Agreements

         74.        Giblin is also bound by the Series Operating Agreement, the LIA Operating

Agreement, the Fourth Amended and Restated Operating Agreement of Lockton Investment

Securities, LLC (“LIS Operating Agreement”), and the First Amended and Restated Operating

Agreement of Lockton Partners, LLC (the “Lockton Partners Operating Agreement” together with

the Series Operating Agreement and LIA Operating Agreement hereinafter referred to as the

“Operating Agreements”).

         75.        Among other things, Giblin is subject to the termination provisions contained in the

Operating Agreements, which provide the only methods upon which a Producer Member can

terminate her membership.            The Operating Agreements provide the following voluntary


27
   Id. at § 5.2.
28
   Id. at § 5.7.
29
   Id. at Page 2.
30
   Id. at. § 5.2.


                                       21
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termination provision by members:

          Any Producer Member may be terminated as a Member:

          (a) by such Series Member on thirty (30) days’ written notice to the Series;
          ....

Series Operating Agreement, § 5.10(a); LIA Operating Agreement, § 5.10(a) and LIS Operating

Agreement, § 5.10(a); Producer Partner Operating Agreement, § 5.10(a) (containing nearly

identical language).

          76.     The purpose of the 30-days’ notice requirement is to facilitate a smooth transition

of services for the benefit of Lockton upon a Producer Member’s departure, to protect Lockton’s

Confidential Information and relationships with customers and personnel, and to prevent a

coordinated effort of Producer Members to resign immediately, affiliate with a competitor of

Lockton, solicit additional employees to also resign, and immediately begin soliciting clients of

Lockton.

          77.     The Operating Agreements acknowledge that Giblin is subject to the non-

disclosure, non-solicitation, and related obligations contained in the Member Agreements.31

          78.     Further, Section 5.5 of the Operating Agreements provides that Customer Accounts

are the property of the respective series and that no Producer Member has any right, title, or interest

in such Customer Accounts or in any records pertaining to such Customer Accounts.32

VII.      GIBLIN’S RESIGNATION AND OFFENDING CONDUCT

          A.      Alliant’s Raid History

          79.     Alliant and Lockton both compete in the market for insurance brokerage and

consulting services addressing a variety of industries and risks.



31
     Operating Agreements, § 11.17.
32
     Id. § 5.5.


                                       22
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        80.      Lockton has an established reputation as a top global expert and industry leader in

the commercial insurance brokerage business, including in California.

        81.      Through recent litigation between Alliant and Lockton stemming from Alliant’s

raid of another Lockton series’ office, Alliant became well aware of the restrictive covenants

contained in Lockton’s agreements with its owner Producer Members. For example, in March

2019, Alliant targeted Lockton’s Denver office, poaching more than 20 Producer Members and

employees. Lockton sued, and by the date of the preliminary injunction hearing, Alliant had

solicited at least 144 Lockton customers, and 50 customers had moved their business to Alliant.33

Vice Chancellor Laster of the Delaware Chancery Court issued a comprehensive 57-page opinion

finding that Alliant had “engineered” and “coordinate[d]” a sweeping raid against Lockton,

induced Lockton employees to breach their contracts, and initiated a “full court press” to solicit

Lockton’s clients.34 The Court found, among other things, that Alliant, with the assistance of its

outside counsel, were responsible for “secretive and underhanded behavior in violation of

contractual obligations and legal requirements” and for attempting to “mask their activities under

a façade of compliance measures and through misleading representations and averments.”35 The

court issued a preliminary injunction enjoining Alliant, along with its affiliated entities, from (i)

soliciting or servicing the clients and prospects it targeted in the Lockton raid (including clients

that had already been diverted to Alliant); and (ii) soliciting Lockton employees, members, or

consultants to leave Lockton to work at Alliant.36

        82.      Alliant knows that the Lockton agreements require Producer Members to provide




33
   See Mt. West Series of Lockton Cos., LLC v. Alliant Ins. Servs., No. 2019-0226-JTL, 2019 WL 2536104, at *8
(Del Ch. June 20, 2019).
34
   Id. at *1, *7.
35
   Id. at *22 (emphasis added).
36
   Id. at *25.


                                      23
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30 days’ written notice of their termination to Lockton, and prohibit Producer Members, for a

period of at least two years following the sale of their Producer Unit in the applicable Lockton

series, from either directly or indirectly through third parties (i) soliciting, recruiting, or hiring

“any employee, member, or consultants;” (ii) soliciting, servicing, or accepting certain Lockton

customer accounts; and (iii) disclosing, using, or taking (or attempting to disclose, use, or take)

any Confidential Information (as defined in the agreement) for any purpose.

        83.      Notably, these non-solicitation and non-disclosure restrictions are essentially

identical to the ones that Alliant itself imposes on its employees and producer members in order

to protect its relationships with customers, employees, and producer members and preserve its

trade secrets and confidential information.

        84.      Accordingly, when Alliant commenced its present attempts to recruit and hire

Giblin, Alliant had full knowledge that Giblin was party to binding agreements with Lockton

prohibiting her immediate transition to Alliant and was aware of the restrictive covenants to which

she was bound. On information and belief, Alliant’s efforts to solicit and hire Giblin, and

potentially others, to join their ranks are aimed at taking Lockton’s customers, trade secrets, and

other Confidential Information along with them. It is through this planned scheme, and not through

legitimate competition, that Alliant apparently seeks to grow its West Coast insurance brokerage

business..

        85.      This scheme is in keeping with Alliant’s growth strategy of targeting producers

with books of business and teams from competitors, otherwise known throughout Alliant as

“leveraged hires,” resulting in a string of lawsuits against Alliant for such corporate raids.37 This


37
   See, e.g., Aon Risk Servs. Cos. v. Alliant Ins. Servs, et al, No. 1:21-cv-06870 (N.D. Ill. 2021); Partners Group,
LTD. vs Michael Bonville, et al., No. 20CV34115 (Or. Multnomah County Cir. Ct. 2021); Willis Towers Watson
Southeast, Inc. v. Alliant Insurance Services, Inc. et al, No. 3:21-cv-00417 (W.D.N.C. 2021); Aon Risk Services




                                      24
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pattern of unscrupulous corporate raiding is so ingrained in Alliant’s business model that in prior

raids Alliant even prepared presentations for its Board of Directors analyzing the total revenue that

Alliant expected to realize from the raids against the anticipated legal and settlement costs.38

         B.       Giblin’s History of Misconduct at Lockton

         86.      While Giblin has attempted to blame her exit from Lockton, and related breaches

of contractual and fiduciary obligations to Lockton, on purported mistreatment by Lockton, in fact,

her own misconduct precipitated her departure from Lockton.

         87.      After joining Lockton, with Lockton’s help and through its vast resources, Giblin

quickly demonstrated her abilities as a Lockton owner and Producer Member and became very

successful in a short period of time. Recognizing Giblin’s potential as a leader in the organization,

Lockton promoted Giblin to the position of President of its San Diego and Irvine Offices,

overseeing the overall operation and development of business in those locations.

         88.      Giblin recognized at the time that leadership in the insurance industry “isn’t ‘male

dominated,’ but rather ‘predominately male,’” and that she was the only one who could craft her

journey and path for success.

         89.      However, over time Lockton grew concerned that Giblin was abusing the position

in which she was placed and creating a toxic environment for those under her leadership. Lockton




Companies, Inc. et al v. Alliant Insurance Services, Inc. et al, No. 1:19-cv-07312 (N.D. Ill 2020); Arthur J. Gallagher
& Co. v. Alliant Insurance Services, Inc. and Stone Point Capital, LLC, No. 2020-0780-JTL (Del. Ch. 2020); Mt. West
Series of Lockton Cos., LLC v. Alliant Ins. Servs., No. 2019-0226-JTL (Del. Ch. 2020); Willis Towers Watson PLC v.
Noonan, No. 1:18-cv-06587 (S.D.N.Y. 2018); Willis Ins. Servs. of Ga. v. Alliant Ins. Servs., No. 8:18-cv-01826 (M.D.
Fla. 2018); Corporate Synergies Group, LLC v. Andrews, No. 2:18-cv-13381 (D.N.J. 2018); NFP Corp. and
Maschino, Hudelson & Associates, L.L.C. v. Alliant Insurance Services, Inc., et al, No. 2018-0688-AGB (Del. Ch.
2018); Cook Maran & Assocs., Inc., v. Scrocca, No. C¬209-17 (N.J. Sup. Ct. 2017); Wells Fargo Ins. Servs. v. Alliant
Ins. Servs., 2017-0540-JTL (Del Ch. 2017); Hays Group, Inc. v. Peters, No. 16-cv-02352 (D. Minn. 2016); Aon PLC
v. Heffernan, No. 1:16-cv-1924 (N.D. Ill. 2016); Regions Ins. Inc. v. Alliant Ins. Servs., No. 3:13-cv-00667 (S.D. Miss.
2013); Aon Risk Servs., N.E. v. Cusack, 34 Misc. 3d 1205(A) (N.Y. Sup. Ct. Dec. 20, 2011).
38
    Cusack, 34 Misc. 3d 1205(A), at *5–6 (describing cost-benefit analysis spreadsheet attached to a memo from
Alliant’s COO to its Board of Directors in 2011).


                                       25
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conducted multiple investigations into her conduct based on a myriad of complaints, provided

warnings and coaching regarding her behavior and treatment of Lockton’s producer members,

associates, and employees, and retrained her on various leadership aspects to insure she was

leading in accordance with Lockton’s core values, which exemplify an inclusive and respectful

work environment.

          90.     Despite Lockton’s investment into her success, Giblin began shopping for a new

location to transition Lockton’s business, directly misleading Lockton as to her intentions. When

Lockton heard in the marketplace that she was looking to leave, Lockton approached Giblin and

again offered its support. Lockton requested that Giblin be transparent regarding her intentions so

that Lockton could help facilitate and orderly transition, should that become necessary. Giblin

denied her intentions of leaving Lockton to join a competitor.

          C.      Giblin’s Premature Termination and False Accusations of Misconduct Against
                  Lockton

          91.     On November 29, 2022, Giblin abruptly reversed course and sprung the news on

Lockton that she intended to terminate her owner interests in Lockton immediately and join

competitor Alliant, despite knowing full well that her agreements with Lockton require advance

notice.

          92.     Specifically, Giblin sent a termination notice by email to Plaintiffs indicating that

she intended to “resign[] as a Producer at Lockton” effective immediately, and stated the she

believed she had no obligation to answer any specific questions regarding client issues that may

arise in the next few weeks.39 The termination notice failed to mention or honor the 30 days’

notice requirement in the Operating Agreements and gave no indication that Giblin was headed to



39
    A true and accurate copy of Giblin’s termination notice is attached hereto as Exhibit E and incorporated herein
by this reference.


                                       26
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Alliant, Lockton’s direct competitor.

         93.      The same day, Lockton sent Giblin a formal letter via email and FedEx

documenting the 30-days’ notice requirement, which expires on December 29, 2022, and

reminding her of the continued fiduciary and contractual duties that she owes to Lockton by way

of the Member Agreements, Partner Agreement, and Operating Agreements.40

         94.      Shortly after her resignation, also on November 29, 2022, Giblin sent to Lockton,

via her counsel, a 15-page demand letter denying the enforceability of the 30-day notice

requirement and the restrictive covenants contained in her Member Agreements, Partner

Agreement, and Operating Agreements. Giblin also incorrectly argued that because Giblin worked

and lived in California, California and not Missouri law should be applicable to the parties’

relationship and that Lockton’s restrictions are not enforceable under California law. While the

letter did not mention Alliant, Giblin was clear that she “will be continuing to work in the employee

benefits industry and will be commencing such employment immediately.”41

         95.      In the same demand letter, in a clearly tactical effort to gain leverage to compete

against Lockton immediately in blatant violation of her agreements, Giblin began fabricating,

through counsel, claims against Lockton regarding alleged mistreatment. These accusations are

utterly false. Moreover, despite Giblin’s efforts to deflect from her own misconduct, her

accusations against Lockton in no way excuse her failure to comply with her continuing

contractual and fiduciary obligations to Lockton. Put simply, Giblin is a disgruntled Producer

Member using threats of baseless claims against Lockton to manipulate Lockton into acceding to

her demands not to enforce the restrictive covenants in the Member and Partner Agreements,



40
    A true and accurate copy of Lockton’s letter is attached hereto as Exhibit F and incorporated herein by this
reference.
41
    Id.


                                      27
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pursuant to which she has been so handsomely compensated.

       96.     Since her resignation, Lockton has continued to engage with Giblin, through her

counsel, but she continues to deny her obligations to abide by the 30-day notice provision or other

restrictive covenants.

       97.     Later in the day on November 29, 2022, Lockton learned that Giblin planned to join

Alliant. In addition to its communications with Giblin and her counsel, Lockton has put Alliant

on notice that Giblin remains a Producer Member and Producer Partner of Lockton through

December 29, 2022 with continuing obligations to Lockton.

       98.     Upon information and belief, Giblin commenced her employment relationship with

Alliant on November 29, 2022 in direct contravention of the Operating Agreements and Member

Agreements.

       C.      Giblin’s Misappropriation of Plaintiffs’ Confidential Information and
               Improper Solicitation of Plaintiffs’ Personnel and Customer Accounts

       99.     On information and belief, efforts by Giblin to misappropriate Plaintiffs’

Confidential Information and trade secrets are well underway.

       100.    Indeed, the very same day that Giblin was accessing her Lockton email account

through which she transmitted notice of her resignation, she was already employed by Lockton’s

competitor, Alliant, and thus wearing two hats. Her dual access to competing information and

technology systems of Lockton and Alliant, during a period of competing loyalties to both

companies, was improper and indicative of misappropriation.

       101.    Moreover, Giblin failed to ensure all Lockton property and data were out of her

possession prior to joining Alliant. In Giblin’s November 29, 2022 resignation letter to Lockton,

she admitted that she maintained hard copy documents and other Lockton Confidential information

on her personal electronic devices. In Lockton’s November 29, 2022 letter to Giblin, Lockton


                                     28
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demanded that Giblin immediately return and surrender all Confidential Information, including

any electronic devises that were used for business purposes, and provided notice of her duty to

preserve all evidence related to her failure to comply with the Member Agreements, Partner

Agreement and Operating Agreements. At the time of this filing, while Giblin’s counsel has

offered to speak, Lockton has not received the hard copy documents that Giblin acknowledged

that she retains, and Giblin has failed to return Lockton’s Confidential Information and trade

secrets that she has already admitted she has retained on her personal electronic devices.

       102.    On information and belief, Giblin violated, and continues to violate, her obligation

to refrain from soliciting Plaintiffs’ Producer Members or employees by surreptitiously soliciting

Producer Members and employees to leave their membership and/or employment with Plaintiffs

and work with her at Alliant.

       103.    On information and belief, Giblin has no intention of honoring her obligation to

refrain from soliciting or servicing Plaintiffs’ customers by soliciting, directly or indirectly,

Customer Accounts to move their business from Plaintiffs to Alliant. Indeed, Giblin has indicated

that she never intended to honor her commitments to Lockton, despite benefitting from them

generously over the years.

   VIII. IRREPARABLE HARM TO LOCKTON

       104.    If Giblin is permitted to use Lockton’s trade secrets and Confidential Information

to compete against Lockton, Lockton will be irreparably harmed.

       105.    Lockton has expended considerable time, effort, and resources developing and

marketing its products and services and cultivating its relationships with Producer Members,

employees, and consultants, as well as Customer Accounts and prospective customers.

       106.    Giblin had, and continues to have, access to valuable Confidential Information and




                                     29
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trade secrets concerning Customer Accounts that she is obligated to use solely for the benefit of

the Lockton or its affiliates.

        107.    Lockton has identified Producer Members, employees, and Customer Accounts

potentially at risk of departure as a result of Giblin’s departure. Lockton reasonably expects that

it may lose multiple colleagues, and numerous clients in the absence of injunctive relief.

        108.    With this action, Lockton seeks to enjoin Giblin from further misappropriation of

its valuable relationships with its customers, Producer Members, consultants, employees, and

Confidential Information. Lockton also seeks to recover damages that it has suffered as a result

of the unlawful conduct of Giblin and those acting in concert with her.

                            COUNT I
                     BREACH OF CONTRACT
      (MEMBER AGREEMENTS, PARNTER AGREEMENT AND OPERATING
                          AGREEMENTS)

        109.    Plaintiffs incorporate by reference all allegations contained in the preceding

Paragraphs as though set forth fully herein.

        110.    Lockton and Giblin entered into valid contracts, the Member Agreements, Partner

Agreement, and Operating Agreements, for the purpose of describing the parties’ relative rights

and obligations with respect to Giblin’s membership in Lockton and post-membership conduct.

        111.    The Member Agreements, Partner Agreement, and Operating Agreements were

supported by mutual promises and valuable consideration.

        112.    Plaintiffs have complied with and performed all obligations under the Member

Agreements, Partner Agreement, and Operating Agreements.

        113.    The Operating Agreements require Giblin to provide 30-days’ written notice of the

termination of her membership in Lockton.

        114.    The Member Agreements prohibit Giblin from: (i) disclosing or misusing Plaintiffs



                                     30
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Confidential Information; (ii) soliciting “Producer Members, [e]mployees, and [o]thers” during

her membership with Plaintiffs and for a period of two years after; and (iii) soliciting, or servicing

or doing business with, certain Customer Accounts during her membership with the Series and for

a period of two years after.42

           115.     The Partner Agreement prohibits Giblin from (i) disclosing information about

current and former Producer Members, associates/employees, consultants and other personnel and

about Customer Accounts and disclosing other Confidential Information; (ii) soliciting, or

attempting to solicit, directly or indirectly, the current and former Producer Members,

associates/employees, consultants and other personnel to leave their employment and/or

membership with the Series; (iii) soliciting, or attempting to solicit, directly or indirectly, the

Series’ Customer Accounts to move their business; and (iv) accepting or servicing the Series’

Customer Accounts who have moved their business.

           116.     Giblin has breached and continues to materially breach the express terms of the

Operating Agreements, Partner Agreement, and Member Agreements in the following manner:

                    (a)      Failing to provide 30 days’ written notice of termination of her membership

in the Series, LIA, LIS, and Lockton Partners;

                    (b)      Failing to return Plaintiffs’ Confidential Information;

                    (c)      On information and belief, taking Plaintiffs’ Confidential Information for

use on behalf of a competitor;

                    (d)      On information and belief, soliciting, or attempting to solicit, directly or

indirectly, current Producer Members and associates/employees to leave their membership and/or

employment with the Series and work with her at a competitor; and



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     As modified by the Solicitation.


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                 (e)    On information and belief, soliciting, or attempting to solicit, directly or

indirectly, Customer Accounts to move their business from Plaintiffs.

       117.      As a direct and proximate result of Giblin’s conduct in material breach of the

Member Agreements, Partner Agreement and Operating Agreements, Plaintiffs have suffered and

will continue to suffer substantial damage and irreparable harm.

                            COUNT II
   TORTIOUS INTERFERENCE WITH PLAINTIFFS’ PROSPECTIVE ECONOMIC
          ADVANTAGE/PROSPECTIVE BUSINESS RELATIONSHIPS

       118.      Plaintiffs incorporate by reference all allegations contained in the preceding

Paragraphs as though set forth fully herein.

       119.      During all relevant times, Plaintiffs were continuously engaged in numerous

discussions with current customers about potential future business opportunities. During all

relevant times, Plaintiffs were also in active discussions with potential customers to solicit their

business. Given Plaintiffs’ time and effort with respect to this business development, as well as

Plaintiffs’ reputation in the industry, Plaintiffs were reasonably likely to secure these business

opportunities.

       120.      Upon information and belief, Giblin, acting individually and/or in concert with

others, has, in a willful, wanton, or malicious manner, intentionally interfered with Plaintiffs’

prospective business relationships by targeting and recruiting Plaintiffs’ Customer Accounts and

Producer Members and employees that Giblin understood to be assisting with the development

of these business relationships, and by aiding, inducing, and/or participating in the solicitation of

Plaintiffs’ Customer Accounts, Producer Members, and employees.

       121.      Giblin’s intentional interference is the proximate cause of Plaintiffs suffering an

enhanced risk of loss of customer and employee relationships that Plaintiffs spent significant time




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and energy developing. But for Giblin’s interference, Plaintiffs had a reasonable expectation of

maintaining their existing relationships during the terms of non-solicitation provisions set forth in

the relevant agreements with respect to their customers and personnel.

         122.    As a direct and proximate result of Giblin’s intentional interference, Plaintiffs have

suffered and will continue to suffer substantial damage and irreparable harm.

                                  COUNT III
                BREACH OF FIDUCIARY DUTIES AND/OR DUTIES OF LOYALTY

         123.    Plaintiffs incorporate by reference all allegations contained in the preceding

Paragraphs as though set forth fully herein.

         124.    Pursuant to the Operating Agreements, Member Agreements, Partner Agreement,

applicable Missouri law, and/or as an owner, officer, Producer Member and Producer Partner of

Lockton, Giblin owes fiduciary duties and/or duties of loyalty to Lockton and has owed such duties

at all times that she has been a Producer Member and Producer Partner. Specifically, Giblin agreed

to, among other things, “devote full time and attention to the Business of [Lockton] . . . and do all

things as may be reasonably directed by appropriate officers of [Lockton].” Operating Agreements

§ 5.3.

         125.    Giblin has breached her fiduciary duties and/or duties of loyalty owed to Lockton

in the following manner:

                 (a)    Engaging in negotiations with Alliant that created incentives for divided

loyalty;

                 (b)    Failing to provide 30 days’ written notice of termination of her membership

in the Series, LIA and LIS and her partnership in Lockton Partners and beginning work at Alliant,

a competitor to Lockton, while still a Producer Member and Producer Partner of Plaintiffs;

                 (c)    Concealing from Lockton that she had accepted an offer to join Alliant;



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               (d)     Failing to return Plaintiffs’ Confidential Information;

               (e)     On information and belief, taking Plaintiffs’ Confidential Information for

use on behalf of Alliant;

               (f)     On information and belief, soliciting, or attempting to solicit, directly or

indirectly, current Producer Members and associates/employees to leave their membership and/or

employment with the Series and work with him at Alliant; and

               (g)     On information and belief, soliciting, or attempting to solicit, directly or

indirectly, Customer Accounts to move their business from Plaintiffs to Alliant.

       126.    As a direct and proximate result of Giblin’s conduct in material breach of her

fiduciary duties and/or duties of loyalty owed to Lockton, Plaintiffs have suffered and will continue

to suffer substantial damage and irreparable harm.

       127.    Giblin’s actions in breach of her fiduciary duties and/or duties of loyalty owed to

Plaintiffs and resulting in substantial damage and irreparable harm to Plaintiffs were taken

maliciously and were the result of Giblin’s willful misconduct.

                            COUNT IV
  MISAPPROPRIATION OF TRADE SECRETS (VIOLATIONS OF THE MISSOURI
   UNIFORM TRADE SECRETS ACT (MO. REV. STAT. § 417.450 ET SEQ.) AND
         DEFEND TRADE SECRETS ACT (18 U.S.C. § 1836 ET SEQ.))

       128.    Plaintiffs incorporate by reference all allegations contained in the preceding

Paragraphs as though set forth fully herein.

       129.    Lockton’s Confidential Information, “includes, without limitation, trade secrets,

non-public proprietary information, formulas, patterns, compilations, programs, devices, methods,

techniques, or processes; sales and other business methods or policies; prices or price formulas;

procedures; the identity of and information concerning former or current Customer Accounts of

the Series, the Other Series and/or any Affiliate, including but not limited to Customer Account



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needs and preferences, levels of satisfaction and the terms of engagement and transactions between

the Series, the Other Series or Affiliates and/or its or their Customer Accounts; revenues, expenses,

budgeting, finances and other financial information; computer systems, programs and software . .

.; business, marketing and development strategies and plans; the Series; Other Series and Affiliate

member and/or Lockton Entity personnel information, including without limitation, compensation

and benefit information; internal operational information related to the structure of any of the

Lockton Entities, including without limitation, the Operating Agreement[.]”43

          130.      Lockton’s Confidential Information has actual and potential economic value and is

subject to efforts by Lockton to keep such information confidential and secret.

          131.      For example, Lockton possesses Confidential Information about its Customer

Accounts’ insurance needs and preferences, risk appetite, pricing and coverage requirements,

present premiums, deductibles, collateral levels, commission arrangements, renewal dates, loss

history, levels of satisfaction, and other information that would be greatly beneficial to competitors

in soliciting such Customer Accounts. This information has independent economic value, is not

generally available to competitors, and is protected by Lockton as a trade secret.

          132.      Lockton’s Confidential Information constitutes trade secrets.

          133.      Lockton employs reasonable measures to ensure that its Confidential Information

remains secret, including by entering into agreements that obligate those with access to ensure

that its Confidential Information is protected.

          134.      In her capacity as Producer Member and Producer Partner of Lockton, Giblin has

access to Confidential Information from Lockton.

          135.      Lockton’s confidential and proprietary information is given to Giblin pursuant to



43
     Exhibit A, § 4.1(b); Exhibit B, § 4.1(b); Exhibit C, § 4.1(b).


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express agreements that the secrecy of the information will be maintained and that the information

is to be kept confidential.

       136.    On information and belief, Giblin knowingly, and with an evil motive or reckless

indifference to the rights of Plaintiffs, misappropriated Lockton’s Confidential Information in

recent weeks, despite planning to depart Lockton, in order to use such Confidential Information

on behalf of Alliant.

       137.    On information and belief, Giblin is using, or intends to use, this Confidential

Information to solicit business from Lockton’s current and prospective Customer Accounts and to

solicit Lockton’s Producer Members, Producer Partners, and employees to depart Lockton and join

or do business with Alliant, without Lockton’s consent.

       138.    Giblin’s misappropriation of Lockton’s Confidential Information has caused and,

unless enjoined, will continue to cause damages and irreparable harm to Plaintiffs.

                                       COUNT V
                                DECLARATORY JUDGMENT

       139.    Plaintiffs incorporate by reference all allegations contained in the preceding

Paragraphs as though set forth fully herein.

       140.    Giblin has effectively taken the position that California law and public policy

prevent Plaintiffs from enforcing the choice of law, forum, notice of termination, and non-

solicitation provisions of the Member Agreements, Partner Agreement, and Operating

Agreements.

       141.    Specifically, Giblin has taken the position that because Giblin worked and lived in

California, she is entitled to the protections of California law regarding workplace mobility. Giblin

denied enforceability of the choice of law and forum provisions by invoking California law and

stating that she will comply with her lawful obligations to Lockton in accordance with California



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law but not Missouri law. Giblin also denied enforceability of the 30-days’ notice requirement

and non-solicitation provisions. Giblin has also refused to acknowledge that these provisions are

lawful and enforceable and, to the contrary, has rejected the legal basis for Plaintiffs’ positions

that they are, indeed, lawful and enforceable.

       142.    There exists an actual, justiciable controversy between Plaintiffs and Giblin relating

to their legal rights, duties, and obligations under the Member Agreements, Partner Agreement,

and Operating Agreements that is ripe for adjudication.

       143.    Declaratory relief will resolve the legal issues between the parties regarding the

enforceability of the Member Agreements, Partner Agreement, and Operating Agreements,

including specifically the choice of law, forum, notice of termination, and non-solicitation

provisions.

       144.    Plaintiff thus request a judgment declaring the rights and obligations of the parties

under the Member Agreements, Partner Agreement, and Operating Agreements and that the choice

of law, forum, notice of termination and non-solicitation provisions contained therein are lawful

and enforceable.

                                 REQUEST FOR JURY TRIAL

       145.    Plaintiffs hereby demand a jury trial.

                                     PRAYER FOR RELIEF

       146.    Wherefore, Plaintiffs pray for an order of this Court:

               (a)     Declaring that Giblin has: (i) breached the Member Agreements, Partner

Agreement and Operating Agreements; (ii) interfered with Plaintiffs’ prospective economic

advantage and prospective business relationships; (iii) breached fiduciary duties and/or duties of

loyalty; and (iv) misappropriated Plaintiffs’ trade secrets;




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                (b)     Declaring the rights and obligations of the parties under the Member

Agreements, Partner Agreement and Operating Agreements and that the choice of law, forum,

notice of termination, and non-solicitation provisions contained therein are lawful and enforceable;

                (c)     Ordering that Giblin pay to Plaintiffs all damages sustained by Plaintiffs

arising from the foregoing misconduct;

                (d)     Ordering that Giblin account to Plaintiffs for all gains, profits, and other

advantages unjustly obtained by Giblin as a result of his wrongful acts;

                (e)     Ordering that Giblin account to Plaintiffs for a reasonable royalty for her

misappropriation of trade secrets;

                (f)     Ordering that Giblin provide an accounting to Plaintiffs of any and all trade

secrets and other confidential and proprietary information that have been used or disclosed to any

person or entity;

                (g)     Award exemplary damages as authorized by the Missouri Uniform Trade

Secrets Act and/or the Defend Trade Secrets Act for the willful and malicious misappropriation of

Plaintiffs’ trade secrets;

                (h)     Issue a temporary, preliminary, and permanent injunction: (i) enjoining

Giblin from joining Alliant or another competitor of Plaintiffs until the 30 days’ notice period

expires on or about December 29, 2022; (ii) enjoining Giblin from directly or indirectly:

(1) maintaining, possessing, using, disclosing, or providing to any third party Plaintiffs’

Confidential Information; (2) using Plaintiffs’ Confidential Information to solicit or render

services to Customer Accounts; (3) using Plaintiffs’ Confidential Information to solicit Plaintiffs’

Producer Members or employees; (4) violating her duties to, and non-solicitation and related

obligations and confidentiality agreements with, Plaintiffs; (5) soliciting, recruiting, hiring,




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inducing, persuading, or encouraging (or attempting to do same) any employee, Producer Member,

or consultant of the Series, LIA, or any other Lockton series or affiliate to terminate his/her/its

employment, membership, producer, or consultant relationship with, or to render services for any

competitor of the Series, LIA, or any other Lockton series or affiliate, as applicable, while a

Producer Member and for four years after any sale of her Producer Unit; (6) soliciting, inducing,

persuading, or encouraging (or attempting to do same) any of the restricted Customer Accounts

described in the Member Agreements to reduce, terminate, or transfer to a competitor any products

or services that are the same or substantially similar to, or directly competitive with, the products

or services provided by the Series, LIA, or any other Lockton Series or affiliate, while a Producer

Member and for four years after any sale of her Producer Unit; and (7) accepting, servicing, or

working on any competitive business from any of the Customer Accounts that Giblin may not

solicit under the Member Agreements, or in any way doing business with any of the Customer

Accounts that Giblin may not solicit under the Member Agreements to the extent such business is

the same or substantially similar to that provided by the Series, LIA or any other Lockton Series

or affiliate, while a Producer Member and for four years after any sale of her Producer Unit; and

(iii) ordering that Giblin (1) account for all Plaintiffs’ Confidential Information that Giblin

misappropriated; (2) return to Plaintiffs all of Plaintiffs’ Confidential Information in Giblin’s

possession, custody, and control; (3) certify in writing and under the pains of penalties of perjury,

after returning Plaintiffs’ Confidential Information, that all paper and electronic copies of all

Plaintiffs’ Confidential Information in his possession, custody, or control have been returned and,

if electronic, upon resolution of these proceedings, have been permanently deleted from any

location where they have been stored; (4) provide an accounting for any products, plans, services,

contracts, or other materials that involve or rely on any of Plaintiffs’ Confidential Information and




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for any business obtained by Giblin as a consequence of his unlawful actions;

               (i)    Award all of the costs and attorneys’ fees Plaintiffs have incurred in

connection with this action; and

               (j)    Award such other and further relief as this Court deems just and proper.

                                              Respectfully submitted,

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